     Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 1 of 26. PageID #: 1




                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO

ROBERT PALUMBO, Individually and on )         Case No.:
Behalf of All Others Similarly Situated,  )
                                          )   CLASS ACTION
                              Plaintiff,  )
                                          )   COMPLAINT FOR VIOLATIONS OF
               v.                         )   THE FEDERAL SECURITIES LAWS
                                          )
LORDSTOWN MOTORS CORPORATION )                DEMAND FOR JURY TRIAL
AND STEPHEN S. BURNS,                     )
                                          )
                              Defendants. )
                                          )
                                          )
         Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 2 of 26. PageID #: 2




            Plaintiff Robert Palumbo (“Plaintiff”), by and through its attorneys, alleges the following

 upon information and belief, except as to those allegations concerning Plaintiff, which are

 alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among other

 things, its counsel’s investigation, which includes without limitation: (a) review and analysis of

 public filings made by Lordstown Motors Corporation (“Lordstown” or the “Company”) and

 related parties with the U.S. Securities and Exchange Commission (“SEC”); (b) review and

 analysis of press releases and other publications disseminated by the Company and other related

 parties; (c) review of news articles, shareholder communications, conference call transcripts, and

 analyst reports concerning the Company’s public statements and those of its officers and

 directors, including Defendant Stephen S. Burns (“Burns”); and (d) review of other publicly

 available information concerning the Company.

 I.         NATURE OF THE ACTION

       1.        Plaintiff brings this securities class action against Defendants Lordstown and Burns

(collectively, “Defendants”) on behalf of all persons or entities that purchased or otherwise

acquired Lordstown common stock from October 26, 2020 through March 17, 2021, inclusive (the

“Class Period”). The action alleges that Defendants engaged in a fraudulent scheme to artificially

inflate the Company’s stock price in violation of Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”).

       2.        Lordstown is an electric vehicle startup company. Founded in 2018, Lordstown

sought to become the first manufacturer of a full size, all-electric pickup truck. The very next

year, Lordstown acquired a shuttered 6 million square-foot factory from General Motors in

Lordstown, Ohio that had once employed approximately 10,000 people. Lordstown held itself out




                                                     1
         Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 3 of 26. PageID #: 3




as a savior of this Northern Ohio region that promised to transform the Mahoning Valley into the

epicenter for electric vehicle production, which the Company dubbed “Voltage Valley.”

       3.      In June 2020, the Company revealed its “Endurance” electric pickup truck in a

splashy ceremony that received national media attention. During the event, Defendant Burns, the

Company’s Chief Executive Officer (“CEO”) heavily promoted the Endurance’s growth prospects,

declaring that “we have our whole year, our first year of production already pre-sold” and

deliveries of the all-electric truck would begin in “early 2021.”

       4.      Just two months later, Lordstown announced that it had secured a remarkable $1.4

billion in pre-orders. On August 3, 2020, Defendant Burns appeared on CNBC’s Fast Money to

tout the purported popularity for the Endurance, stating that “we got 27,000 pre-orders and we got

customers really really wanting the truck.” In late September 2020, just weeks before going public

on the NASDAQ through a special purpose acquisition company (“SPAC”), the Company

announced that its book of pre-orders for Endurance now reached 40,000. Defendants represented

that the purportedly large numbers of “pre-orders” for the Endurance represented strong

commercial demand from actual customers operating fleets of trucks.

       5.      On October 26, 2020, the first day of the Class Period, Defendant Burns specifically

cited the 40,000 pre-order figure as “pent-up demand” for the Endurance and emphasized that “I

don’t think we’ve even scratched the surface.” In November 2020, Lordstown stated that its pre-

orders for Endurance now reached 50,000, and similarly assured investors that “[t]his figure does

not capture interest the company has received from organizations that are not in position to be able

to place pre-orders.” In an interview on CNBC’s Mad Money on November 17, 2020, Burns

further assured investors that most of the pre-orders were signed by the CEOs of large firms, and

were thus “very serious orders.”




                                                   2
           Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 4 of 26. PageID #: 4




          6.       By January 2021, the Company’s announced pre-orders for Endurance soared to

100,000, which Defendants hailed as “unprecedented in automotive history” and put Lordstown in

a position to “revolutionize the pickup truck industry.” In a February 23, 2021 interview with

Yahoo! Finance, Defendant Burns reaffirmed the 100,000 pre-order figure and emphasized that

Lordstown had “pre-sold 100,000 of these vehicles to various fleets across America— so really a

big appetite.” Defendants continued to tout the strong demand for Endurance and the Company’s

growth prospects throughout the Class Period, consistently pointing to Lordstown’s purported

book of 100,000 pre-orders for the Endurance.

          7.       However, as the Company knew but concealed from investors, a substantial amount

of these “pre-orders” for Endurance consisted of orders from customers that did not operate

commercial fleets or did not have the financial means to purchase the trucks. Moreover, numerous

orders were generated by a small consulting firm that was paid $30 to $50 for each “pre-order” it

placed.        Defendants also hid from investors that the Company faced undisclosed production

obstacles and, moreover, had not yet completed testing and validation required to meet federal

safety standards. According to a former Lordstown employee, these obstacles meant that, rather

than being poised to capitalize on the strong demand for Endurance, production of the Endurance

remained at least three to four years away throughout the duration of the Class Period. As a result,

Lordstown’s Class Period representations about the purportedly strong demand for its electric

vehicles as demonstrated through its large number of pre-orders for Endurance, as well as the

Company’s stated timeframes to produce and deliver the Endurance, were materially false and

misleading.

          8.       The truth began to emerge on March 12, 2021, when the investment research firm

Hindenburg Research issued a scathing investigative report (the “Hindenburg Report”) titled, “The




                                                   3
         Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 5 of 26. PageID #: 5




Lordstown Motors Mirage: Fake Orders, Undisclosed Production Hurdles, and a Prototype

Inferno.” Based on extensive research, including “conversations with former employees, business

partners and an extensive document review,” the Hindenburg Report revealed that Lordstown “is

an electric vehicle SPAC with no revenue and no sellable product” that “misled investors on both

its demand and production capabilities.” The Hindenburg Report concluded that Lordstown’s

book of 100,000 pre-orders for its proposed EV truck “are largely fictitious and used as a prop to

raise capital and confer legitimacy.” Additionally, the Hindenburg Report estimated that the

Endurance was in fact three to four years away from production, and cited as evidence an

interview with a former Lordstown employee familiar with the production of Endurance who

explained that the Company had built fewer than 10 prototypes to-date and had not completed any

of the required testing and validation of the prototypes. On this news, Lordstown’s share price

plummeted 17%, falling from a closing price of $17.71 per share on March 11, 2021 to $14.78 per

share on March 12, 2021, a decline of $2.93 per share.

       9.     Then, on March 17, 2021, during an earnings call with investors after market close,

Defendant Burns disclosed that Lordstown was under investigation by the SEC. During the call,

Burns stated that the Company was cooperating with the SEC, and that Lordstown’s board of

directors had formed a special committee to conduct an internal inquiry.           On this news,

Lordstown’s share price plunged by nearly 14%, falling from a close price of $15.09 per share on

March 17, 2021 to just $13.01 per share on March 18, 2021, a decline of $2.08 per share—

representing a stunning 58% decline from the Class Period high.

       10.    As a direct result of Defendants’ materially false and misleading statements, and the

sharp decline in the market value of the Company’s shares, Plaintiff and other Class members have

suffered substantial losses and damages.




                                                 4
          Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 6 of 26. PageID #: 6




 II.      JURISDICTION AND VENUE

        11.    The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        12.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

        13.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b), Section 27

of the Exchange Act (15 U.S.C. §78aa(c)). Substantial acts in furtherance of the alleged fraud or

the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District, as Lordstown is headquartered in this Judicial District.

        14.    In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

 III.     PARTIES

        15.    Plaintiff Robert Palumbo, as set forth in the accompanying certification,

incorporated by reference herein, purchased Lordstown common stock during the Class Period,

and suffered damages as a result of the federal securities law violations and the false and/or

misleading statements and/or material omissions alleged herein.

        16.    Defendant Lordstown is a Delaware corporation with its principal executive offices

located in Lordstown, Ohio. Lordstown’s securities are traded on the NASDAQ under the symbol

“RIDE.”




                                                    5
         Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 7 of 26. PageID #: 7




       17.     Defendant Burns is Lordstown’s CEO and Chairman of its the Board of Directors,

and served in these capacities throughout the Class Period.

       18.     Defendant Burns, because of his positions with the Company, possessed the power

and authority to control the contents of Lordstown’s reports to the SEC, as well as its press

releases and presentations to securities analysts, money and portfolio managers and institutional

investors, i.e., the market. Burns was provided with copies of the Company’s reports and press

releases alleged herein to be misleading prior to, or shortly after, their issuance, and had the ability

and opportunity to prevent their issuance or cause them to be corrected. Because of his positions

and access to material non-public information, Defendant Burns knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the investing public,

and that the positive representations which were being made were then materially false and/or

misleading. Defendant Burns is liable for the false statements pleaded herein, as those statements

were each “group-published” information, and were the result of the actions of Burns and other

officers and directors of the Company.

 IV.     SUBSTANTIVE ALLEGATIONS

         A.      Background

       19.     Lordstown is an electric vehicle (“EV”) company headquartered in Lordstown,

Ohio. The Company’s first production automobile is the Endurance, a full-size electric pickup

truck that the Company claimed got about 250 miles of range on a single charge. According to the

Company, the Endurance is powered by four electric hub motors, with each wheel having its own

motor. Defendants promoted this technology as allowing the Endurance to deliver varying amounts

of torque to each wheel—an important factor in selling pickup trucks as torque is critical when

hauling heavy loads.




                                                    6
          Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 8 of 26. PageID #: 8




         20.   Lordstown is an offshoot of Workhorse Group, Inc. (“Workhorse”), where

Defendant Burns previously served as CEO until his ouster in February 2019. Burns then formed

Lordstown in June 2019 on the promise that the Company could revive General Motors’ (“GM”)

recently shuttered manufacturing facility in Lordstown, Ohio, after which the Company was

named.     On November 7, 2019, Lordstown entered into an agreement with Workhorse in which

Workhorse would provide Lordstown intellectual property rights to a Workhorse small electric

pickup truck in exchange for Workhorse acquiring a 10% equity stake in Lordstown. On the same

day, Lordstown announced it was acquiring the former GM manufacturing facility in Lordstown,

funded by a $40 million loan from GM.

         21.   On August 1, 2020, the Company announced that it entered into an agreement and

plan of merger with DiamondPeak Holdings Corp (“DiamondPeak”), a SPAC, through which

Lordstown would become a publicly traded company. In announcing the merger, the Company

issued a presentation that stated, under the heading “investment highlights,” that demand for

Endurance was “proven with pre-orders covering first year of production.” The presentation also

characterized the Endurance as a “Revolutionary Vehicle for an Underserved Market.”

         22.   Two days later, on August 3, 2020, Burns appeared on CNBC’s Fast Money to

promote the Endurance. During the broadcast, Burns stated that “we got 27,000 pre-orders” for

the Endurance and “we got customers really really wanting the truck.” On September 23, 2020,

the Company announced 40,000 pre-orders for the Endurance, which amounted to $2 billion in

potential revenue.

          B.     Defendants’ False and Misleading Statements During the Class Period

         23.   The Class Period begins on October 26, 2020 when Lordstown issued a press

release announcing that it would become a publicly traded company as a result of its acquisition by




                                                 7
         Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 9 of 26. PageID #: 9




and merger with DiamondPeak. In the release, Burns stated this was a “momentous occasion” for

the Company and that Lordstown was “looking forward to combining the Company’s EV startup

culture with the infrastructure and assets we already have in place in order to successfully achieve

our production milestones.” Burns also represented in the release that the Company had “a near

production-ready plant and approximately $675 million in proceeds from this transaction, which is

more than enough funding to get us through initial production.”

       24.     In an interview with The Business Journal that same day, Burns highlighted that the

Company’s beta vehicles were “nearly production ready” and would launch into full production by

September 2021. Burns also noted that the previously announced 40,000 pre-orders are “just a

pent-up demand” for the first all-electric pickup truck in the market, and emphasized that, “I don’t

think we’ve even scratched the surface.” On the first day of trading following the merger,

Lordstown’s stock price rose over 4% to close at $18.97 per share.

       25.     On November 16, 2020, Lordstown issued a press release announcing recent

commercial, operational and strategic developments, and assured investors that the Company

remained on track to begin production of the Endurance in September 2021. The release stated that

the Company had received 50,000 non-binding pre-orders from commercial fleets for the

Endurance, adding that “[t]his figure does not capture interest the company has received from

organizations that are not in position to be able to place pre-orders.” In an interview on CNBC’s

Mad Money the following day, November 17, 2020, Burns declared “we sell to commercial fleets.

That’s our first customer. And like I said, we’ve already got 50,000 pre-orders.” Burns went on to

say that most of the orders are signed by the CEOs of large firms – “so very serious orders.” In

response to the release and Burns’ statements on Mad Money, Lordstown stock price soared nearly

$10 per share over the next two days, closing at $27.50 on November 18, 2020.




                                                  8
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 10 of 26. PageID #: 10




       26.     On December 4, 2020, the Company filed a Prospectus Form 424 with the SEC in

which the Company reported that it had received “pre-orders from fleet operators to purchase

approximately 50,000 Endurance vehicles.”

       27.     Thereafter, the Company continued to promote the purportedly ever-increasing

numbers of pre-orders for the Endurance. On December 21, 2020, Lordstown announced that it

received 80,000 non-binding reservations for the Endurance and that the Company remained on

track to begin production of the Endurance in September 2021. In a tweet promoting the news, the

Company declared, “we have hit a new milestone.”

       28.     On January 11, 2021, Lordstown issued a press release announcing it had reached a

record 100,000 pre-orders for Endurance, with an average order size of 600 vehicles per fleet. In

the release, Burns underscored that “[r]eceiving 100,000 pre-orders from commercial fleets for a

truck like the Endurance is unprecedented in automotive history” and that the Company was in a

position to “revolutionize the pickup truck industry.”

       29.     On January 28, 2021, the Company issued a press release quoting Burns that the

Company remained on track to meet its “September start of production timeline while continuing

to see indicators of strong demand for an all-wheel drive, full-size electric pickup truck.”

       30.     On February 23, 2021, Burns declared in an interview with Yahoo! Finance that the

Company had “pre-sold 100,000 of these vehicles to various fleets across America— so really a

big appetite.” Burns also emphasized “there is a lot of demand and excitement” for the Endurance,

and reaffirmed that “[p]roduction [of the Endurance] starts in September [2021].”

       31.     The statements referenced in ¶¶22-29 were materially false and/or misleading

because they misrepresented and failed to disclose material adverse facts pertaining to the

Company’s business and operations, which were known to Defendants or recklessly disregarded




                                                   9
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 11 of 26. PageID #: 11




by them.        Specifically, Defendants made false and/or misleading statements and/or failed to

disclose that: (1) the number of Endurance pre-orders was fabricated, and therefore inflated, and

thus did not accurately reflect demand; (2) Lordstown had fabricated the pre-orders in order to give

prospective investors a false sense of confidence; (3) the Company faced undisclosed production

obstacles that would continue to delay production and delivery of the Endurance; and (4) as a

result of the foregoing, Defendants’ statements about Lordstown’s business, operations, and

prospects were false and misleading and/or lacked a reasonable basis. As a result, Defendants were

able to artificially inflate the Company’s financials throughout the Class Period.

           C.       The Truth Begins To Emerge

        32.       On March 12, 2021, the Hindenburg Report was published before markets opened.

In it, the investment research and reporting firm Hindenburg Research (“Hindenburg”) revealed

that the Company had “no revenue and no sellable product” and “misled investors on both its

demand and production capabilities.” The Hindenburg Report found that “Lordstown’s order book

consists of fake or entirely non-binding orders, from customers that generally do not even have

fleets of vehicles.”

        33.       In support of its findings, the Hindenburg Report stated that Hindenburg’s

“conversations with former [Lordstown] employees, business partners and an extensive document

review show that the company’s orders are largely fictitious and used as a prop to raise capital and

confer legitimacy.” The Hindenburg Report cited several examples of “fake pre-orders” from the

Company’s purported 100,000 vehicle book from customers that did not operate a commercial

fleet and/or did not have the ability to purchase the trucks. For example, the Hindenburg Report

highlighted a $735 million 14,000 truck order (representing almost 18% of the Company’s pre-

orders at the time) from a two employee non-registered corporation apparently operating out of an




                                                  10
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 12 of 26. PageID #: 12




individual’s studio apartment, and a $52.5 million 1,000-truck order (representing ~13% of the

Company’s total order book) from a company whose mailing address was a UPS Store and had no

fleet of its own or plan to actually purchase the vehicles.

       34.     The Hindenburg Report further detailed how, in early 2020 and with a capital raise

on the horizon, Burns was desperate to increase the number of Endurance pre-orders.             To

accomplish this goal, the Company hired Climb2Glory, a small consulting firm. Climb2Glory was

paid $30-$50 per pre-order for the Endurance. That company’s website directly linked the pre-

orders with Lordstown’s ability to raise capital – “the more pre-orders achieved, the greater the

confidence levels of prospective borrowers.”

       35.     The Hindenburg Report further described why the Endurance was actually three to

four years away from production—a stark contrast to the Company’s recent statements that it was

on track to start production on the Endurance in September 2021. Hindenburg based its finding on

interviews with former Company employees and documents obtained through a Freedom of

Information Act (“FOIA”) request. For example, the Hindenburg Report highlighted an interview

with a former Lordstown employee who detailed how Lordstown had built fewer than 10

prototypes to date and had not completed any of the required testing and validation of the

prototypes.

       36.     In response to the release of Hindenburg Report, Lordstown’s stock price fell $2.93

per share on March 12, from a close of $17.71 per share on March 11, 2021, to close at $14.78 per

share on March 12, 2021, a decline of approximately 17%.

       37.     Then, on March 17, 2021, the Company announced financial results for the fourth

quarter of 2020, reporting a net loss of $101 million. In a call with investors conducted after the

market closed, Burns added to the bad news by disclosing that the SEC had launched an




                                                   11
       Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 13 of 26. PageID #: 13




investigation into the Company regarding the matters described in the Hindenburg Report. Burns

stated that the Company’s board of directors had formed a special committee to conduct an internal

inquiry.

       38.     On this news, Lordstown’s share price fell another $2.08 per share, or nearly 14%,

from a close of $15.09 per share on March 17, 2021, to just $13.01 on March 18, 2021,

representing a 58% decline from the Class Period high.

 V.        CLASS ACTION ALLEGATIONS

       39.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased or otherwise

acquired Lordstown securities during the Class Period and who were damaged thereby (the

“Class”). Excluded from the Class are Defendants, members of the immediate family of each of

the Individual Defendant, any subsidiary or affiliate of Lordstown and the directors, officers and

employees of the Company or its subsidiaries or affiliates, or any entity in which any excluded

person has a controlling interest, and the legal representatives, heirs, successors and assigns of any

excluded person.

       40.     The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Throughout the Class Period, Lordstown’s securities

were actively traded on the NASDAQ, an open and efficient market, under the symbol “RIDE.”

Millions of Lordstown shares were traded publicly during the Class Period on the NASDAQ. As

of March 18, 2020, Lordstown had approximately 165 million shares of common stock

outstanding. Record owners and the other members of the Class may be identified from records




                                                  12
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 14 of 26. PageID #: 14




maintained by Lordstown and/or its transfer agents and may be notified of the pendency of this

action by mail, using a form of notice similar to that customarily used in securities class actions.

       41.     Plaintiff’s claims are typical of the claims of the other members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       42.     Plaintiff will fairly and adequately protect the interests of the other members of the

Class, and has retained counsel competent and experienced in class and securities litigation.

       43.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                 a)      whether the federal securities laws were violated by Defendants’ acts and

                         omissions as alleged herein;

                 b)      whether Defendants participated in and pursued the common course of

                         conduct complained of herein;

                 c)      whether documents, press releases, and other statements disseminated to

                         the investing public and the Company’s shareholders during the Class

                         Period misrepresented material facts about the business, finances, and

                         prospects of Lordstown;

                 d)      whether statements made by Defendants to the investing public during the

                         Class Period misrepresented and/or omitted to disclose material facts

                         about the business, finances, value, performance and prospects of

                         Lordstown;




                                                   13
          Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 15 of 26. PageID #: 15




                 e)      whether the market price of Lordstown common stock during the Class

                         Period was artificially inflated due to the material misrepresentations and

                         failures to correct the material misrepresentations complained of herein;

                         and

                 f)      the extent to which the members of the Class have sustained damages and

                         the proper measure of damages.

          44.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class

action.

 VI.       UNDISCLOSED ADVERSE FACTS

          45.   The market for Lordstown’s common stock was an open, well-developed and

efficient market at all relevant times.    As a result of these materially false and misleading

statements and failures to disclose described herein, Lordstown’s stock traded at artificially

inflated prices during the Class Period. Plaintiff and the other members of the Class purchased or

otherwise acquired Lordstown’s stock relying upon the integrity of the market price and market

information relating to Lordstown and have been damaged thereby.

          46.   During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Lordstown’s common stock, by publicly issuing false and misleading

statements and omitting to disclose material facts necessary to make Defendants’ statements, as set

forth herein, not false and misleading. These statements and omissions were materially false and




                                                  14
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 16 of 26. PageID #: 16




misleading in that they failed to disclose material adverse non-public information and

misrepresented the truth about the Company, as well as its business, accounting, financial

operations and prospects, as alleged herein.

        47.    At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and the other members of the Class. As described herein, during

the Class Period, Defendants made or caused to be made a series of materially false and misleading

statements about Lordstown’s financial well-being and prospects.

        48.    These material misstatements and omissions had the cause and effect of creating in

the market an unrealistically positive assessment of the Company and its financial well-being and

prospects, thus causing the Company’s securities to be overvalued and artificially inflated at all

relevant times. Defendants’ materially false and misleading statements made during the Class

Period resulted in Plaintiff and the other members of the Class purchasing the Company’s stock at

artificially inflated prices, thus causing the damages complained of herein.

 VII.    LOSS CAUSATION

        49.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the prices of Lordstown’s

common stock and operated as a fraud or deceit on Class Period purchasers of Lordstown’s shares

by failing to disclose to investors that the Company’s business operations, financial results, and

future prospects were materially misleading and misrepresented material information.        When

Defendants’ misrepresentations and fraudulent conduct were disclosed and became apparent to the

market, the prices of Lordstown’s stock fell precipitously as the prior inflation was removed from




                                                  15
       Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 17 of 26. PageID #: 17




the share price. As a result of their purchases of Lordstown’s common stock during the Class

Period, Plaintiff and the other Class members suffered economic loss.

       50.     By failing to disclose the true state of the Company’s business operations, financial

statements, and future prospects, investors were not aware of the Company’s true state. Therefore,

Defendants presented a misleading picture of Lordstown’s business practices and procedures.

Instead of truthfully disclosing during the Class Period the true state of the Company’s business,

Defendants caused Lordstown to conceal the truth.

       51.     Defendants’ false and misleading statements had the intended effect and caused

Lordstown’s common stock to trade at artificially inflated levels throughout the Class Period. The

stock price drops discussed herein caused real economic loss to investors who purchased the

Company’s securities during the Class Period.

       52.     The decline in the price of Lordstown’s common stock after the truth came to light

was a direct result of the nature and extent of Defendants’ fraud finally being revealed to investors

and the market. The timing and magnitude of Lordstown’s common stock price declines negates

any inference that the loss suffered by Plaintiff and the other Class members was caused by

changed market conditions, macroeconomic or industry factors, or Company-specific facts

unrelated to the Defendants’ fraudulent conduct. The economic loss suffered by Plaintiff and the

other Class members was a direct result of Defendants’ fraudulent scheme to artificially inflate the

prices of Lordstown’s securities and the subsequent decline in the value of Lordstown’s securities

when Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

 VIII. SCIENTER ALLEGATIONS

       53.     As alleged herein, the Individual Defendant acted with scienter in that the

Individual Defendant knew that the public documents and statements issued or disseminated in the




                                                  16
       Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 18 of 26. PageID #: 18




name of the Company during the Class Period were materially false and misleading; knew that

such statements or documents would be issued or disseminated to the investing public; and

knowingly and substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws.

       54.     As set forth herein, Defendant Burns, by virtue of his receipt of information

reflecting the true facts regarding Lordstown, his control over, receipt and/or modification of

Lordstown’s allegedly materially misleading statements and omissions, and/or his positions with

the Company which made Burns privy to confidential information concerning Lordstown,

participated in the fraudulent scheme alleged herein.

 IX.     APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
         MARKET DOCTRINE

       55.     At all relevant times, the market for Lordstown’s common stock was an efficient

market for the following reasons, among others:

                 a)     Lordstown stock met the requirements for listing, and was listed and

                        actively traded on the NASDAQ, a highly efficient market;

                 b)     As a regulated issuer, Lordstown filed periodic public reports with the

                        SEC and the NASDAQ;

                 c)     Lordstown shares were followed by securities analysts employed by major

                        brokerage firms who wrote reports which were distributed to the sales

                        force and certain customers of their respective brokerage firms. Each of

                        these reports was publicly available and entered the public marketplace;

                        and




                                                  17
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 19 of 26. PageID #: 19




                 d)      Lordstown regularly issued press releases which were carried by national

                         newswires. Each of these releases was publicly available and entered the

                         public marketplace.

       56.     As a result of the foregoing, the market for Lordstown’s common stock promptly

digested current information regarding Lordstown from all publicly available sources and reflected

such information in Lordstown’s stock price. Under these circumstances, all purchasers of

Lordstown’s shares during the Class Period suffered similar injury through their purchase of

Lordstown’s stock at artificially inflated prices and a presumption of reliance applies.

       57.     A Class-wide presumption of reliance is also appropriate in this action under the

U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because Plaintiff’s fraud claims are grounded in Defendants’ omissions of material fact of

which there is a duty to disclose. As this action involves Defendants’ failure to disclose material

adverse information regarding Lordstown’s business operations and practices, financial results,

and internal controls—information that Defendants were obligated to disclose during the Class

Period but did not—positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered such information important in the making of investment decisions.

 X.      NO SAFE HARBOR

       58.     The federal statutory safe harbor provided for forward-looking statements under

certain circumstances does not apply to any of the allegedly false statements pleaded in this

Complaint. The statements alleged to be false and misleading herein all relate to then-existing

facts and conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward-looking, they were not identified as “forward-looking statements” when




                                                  18
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 20 of 26. PageID #: 20




made, and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

       59.     In the alternative, to the extent that the statutory safe harbor is determined to apply

to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Lordstown who knew that the statement was false when made.

 XI.     CLAIMS AGAINST DEFENDANTS

                                              COUNT I
                        Violation of Section 10(b) of the Exchange Act and
                               Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants

       60.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein. This claim is asserted against the Company and Burns.

       61.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and the other Class members, as alleged herein; (ii) artificially inflate

and maintain the market price of Lordstown securities; and (iii) cause Plaintiff and the other

members of the Class to purchase Lordstown securities at artificially inflated prices.             In

furtherance of this unlawful scheme, plan and course of conduct, defendants, and each of them,

took the actions set forth herein.

       62.     These Defendants: (a) employed devices, schemes, and artifices to defraud; (b)

made untrue statements of material fact and/or omitted material facts necessary to make the

statements not misleading; and (c) engaged in acts, practices and a course of business which




                                                  19
       Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 21 of 26. PageID #: 21




operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Lordstown securities in violation of §10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.              Defendants are sued as primary

participants in the wrongful and illegal conduct charged herein. The Individual Defendant is also

sued herein as controlling person of Lordstown, as alleged herein.

       63.     In addition to the duties of full disclosure imposed on Defendants as a result of their

making of affirmative statements and reports, or participation in the making of affirmative

statements and reports to the investing public, they each had a duty to promptly disseminate

truthful information that would be material to investors in compliance with the integrated

disclosure provisions of the SEC, as embodied in SEC Regulation S-X (17 C.F.R. § 210.01, et

seq.) and S-K (17 C.F.R. § 229.10, et seq.) and other SEC regulations, including accurate and

truthful information with respect to the Company’s operations, financial condition and

performance so that the market prices of the Company’s publicly traded securities would be based

on truthful, complete and accurate information.

       64.     Lordstown and Burns, individually and in concert, directly and indirectly, by the

use of means or instrumentalities of interstate commerce and/or of the mails, engaged and

participated in a continuous course of conduct to conceal adverse material information about the

business, business practices, performance, operations and future prospects of Lordstown as

specified herein.   Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Lordstown’s value and performance

and substantial growth, which included the making of, or the participation in the making of, untrue

statements of material facts, and omitting to state material facts necessary in order to make the




                                                  20
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 22 of 26. PageID #: 22




statements made about Lordstown and its business, operations and future prospects, in light of the

circumstances under which they were made, not misleading, as set forth more particularly herein,

and engaged in transactions, practices and a course of business which operated as a fraud and

deceit upon the purchasers of Lordstown’s securities during the Class Period.

       65.     Defendant Burns’ primary liability, and controlling person liability, arises from the

following facts: (i) Burns was a high-level executive and director at the Company during the Class

Period; (ii) Burns, by virtue of his responsibilities and activities as a senior executive officer and/or

director of the Company, was privy to and participated in the creation, development and reporting

of the Company’s operational and financial projections and/or reports; (iii) Burns was advised of

and had access to other members of the Company’s management team, internal reports, and other

data and information about the Company’s financial condition and performance at all relevant

times; and (iv) Burns was aware of the Company’s dissemination of information to the investing

public which they knew or recklessly disregarded was materially false and misleading.

       66.     Defendants had actual knowledge of the misrepresentations and omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were readily available to them. Such

Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly, and

for the purpose and effect of concealing Lordstown’s operating condition, business practices and

future business prospects from the investing public and supporting the artificially inflated price of

its common stock. As demonstrated by their overstatements and misstatements of the Company’s

financial condition and performance throughout the Class Period, Burns, if he did not have actual

knowledge of the misrepresentations and omissions alleged, was severely reckless in failing to




                                                    21
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 23 of 26. PageID #: 23




obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

        67.    As a result of the dissemination of the materially false and misleading information

and failure to disclose material facts, as set forth above, the market price of Lordstown securities

was artificially inflated during the Class Period. In ignorance of the fact that the market price of

Lordstown shares was artificially inflated, and relying directly or indirectly on the false and

misleading statements made by Defendants, upon the integrity of the market in which the securities

trade, and/or on the absence of material adverse information that was known to or recklessly

disregarded by Defendants but not disclosed in public statements by these Defendants during the

Class Period, Plaintiff and the other members of the Class acquired Lordstown securities during

the Class Period at artificially inflated high prices and were damaged thereby.

        68.    At the time of said misrepresentations and omissions, Plaintiff and the other

members of the Class were ignorant of their falsity and believed them to be true. Had Plaintiff and

the other members of the Class and the marketplace known of the true performance, business

practices, future prospects and intrinsic value of Lordstown, which were not disclosed by

Defendants, Plaintiff and the other members of the Class would not have purchased or otherwise

acquired Lordstown securities during the Class Period, or, if they had acquired such securities

during the Class Period, they would not have done so at the artificially inflated prices which they

paid.

        69.    By virtue of the foregoing, Lordstown and the Individual Defendant each violated

§10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.




                                                  22
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 24 of 26. PageID #: 24




       70.     As a direct and proximate result of the Individual Defendant’s wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with their purchases

of the Company’s securities during the Class Period.

                                             COUNT II
                           Violation of Section 20(a) of the Exchange Act
                                           Against Burns

       71.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein. This claim is asserted against Burns.

       72.     Burns was and acted as a controlling person of Lordstown within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level positions with the

Company, participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the Company’s actual performance, Burns had the power to influence and control

and did influence and control, directly or indirectly, the decision-making of the Company,

including the content and dissemination of the various statements which Plaintiff contends are

false and misleading.     Burns was provided with or had unlimited access to copies of the

Company’s reports, press releases, public filings and other statements alleged by Plaintiff to be

misleading prior to and/or shortly after these statements were issued, and had the ability to prevent

the issuance of the statements or cause the statements to be corrected.

       73.     In addition, Burns had direct involvement in the day-to-day operations of the

Company and, therefore, is presumed to have had the power to control or influence the particular

transactions giving rise to the securities violations as alleged herein, and exercised the same.

       74.     As set forth above, Lordstown and Burns each violated §10(b) and Rule 10b-5 by

their acts and omissions as alleged in this Complaint. By virtue of his controlling positions, Burns

is liable pursuant to §20(a) of the Exchange Act. As a direct and proximate result of these




                                                   23
        Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 25 of 26. PageID #: 25




Defendants’ wrongful conduct, Plaintiff and the other members of the Class suffered damages in

connection with their purchases of the Company’s securities during the Class Period.

 XII.    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for judgment as

 follows:

         a)     Declaring this action to be a class action pursuant to Rule 23(a) and (b)(3) of the

                Federal Rules of Civil Procedure on behalf of the Class defined herein;

         b)     Awarding Plaintiff and the other members of the Class damages in an amount

                which may be proven at trial, together with interest thereon;

         c)     Awarding Plaintiff and the other members of the Class pre-judgment and post-

                judgment interest, as well as their reasonable attorneys’ and experts’ witness fees

                and other costs; and

         d)     Awarding such other relief as this Court deems appropriate.

 XIII. JURY TRIAL DEMANDED

         Plaintiff hereby demands a trial by jury.
                                               Respectfully submitted,

 DATED: March 19, 2021                         /s/ Scott D. Simpkins______
                                               Scott D. Simpkins (0066775)
                                               CLIMACO WILCOX PECA
                                               & GAROFOLI CO., LPA
                                               55 Public Square, Suite 1950
                                               Cleveland, Ohio 44113
                                               Telephone: (216) 621-8484
                                               Facsimile: (216) 771-1632
                                               sdsimp@climacolaw.com

                                               Local Counsel for Plaintiff

                                               SAXENA WHITE P.A.
                                               Maya Saxena
                                               Joseph E. White, III



                                                     24
Case: 4:21-cv-00633-PAG Doc #: 1 Filed: 03/19/21 26 of 26. PageID #: 26



                                Lester R. Hooker
                                7777 Glades Road, Suite 300
                                Boca Raton, FL 3334
                                Telephone: (561) 394-3399
                                Facsimile: (561) 394-3382
                                msaxena@saxenawhite.com
                                jwhite@saxenawhite.com
                                lhooker@saxenawhite.com

                                Steven B. Singer
                                10 Bank Street, 8th Floor
                                White Plains, NY 10606
                                Telephone: (914) 437-8551
                                Facsimile: (888) 631-3611
                                ssinger@saxenawhite.com

                                David R. Kaplan
                                12750 High Bluff Drive, Suite 475
                                San Diego, CA 92130
                                Telephone: (858) 997-0860
                                Facsimile: (858) 369-0096
                                dkaplan@saxenawhite.com

                                         -and-

                                Richard A. Maniskas, Esquire
                                RM Law, P.C.
                                1055 Westlakes Dr., Ste. 300
                                Berwyn, PA 19312
                                Telephone: (484) 324-6800
                                Facsimile: (484) 631-1305
                                rmaniskas@rmclasslaw.com

                                Counsel for Plaintiff




                                  25
